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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                          CENTRAL DIVISION

 PRESTON V. VANCE, JR.             *
 ADC #171953                       *
                    PLAINTIFF      *
 V.                                *
                                   *             CASE NO. 4:19-cv-00325-SWW-JJV
 BRANDON GRIMES, Jail              *
 Administrator, White County       *
 Detention Center; et al.          *
                        DEFENDANTS *

                                       ORDER

      Pursuant to the parties’ stipulation of dismissal [ECF No. 63] this action is

DISMISSED WITH PREJUDICE, and the bench trial scheduled for November 2,

2020 is CANCELLED. As requested by the parties, the Court will retain

jurisdiction of this case for a period of thirty (30) days from the entry date of this

order for the purpose of enforcing the terms of the parties’ settlement agreement if

necessary.

      IT IS SO ORDERED THIS 16TH DAY OF OCTOBER, 2020.

                                        /s/Susan Webber Wright
                                        UNITED STATES DISTRICT JUDGE
